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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                   CASE NO.: 21-CR-703-RDM


UNITED STATES OF AMERICA,

       Plaintiff,
v.

JULIO CESAR CHANG,

      Defendant.
_______________________________/

                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the Defendant, Julio Cesar Chang, by and through undersigned

counsel, now submit this Joint Status Report, ordered by the Court after the last status reports

submitted on March 2nd and March 17th, 2023.


1.     Chang was recently discharged from an in-patient brain and spine program at Neulife

       Neurological Services.

2.     The Government and undersigned counsel have engaged in several discussions regarding

       a plea in this matter.

3.     The parties are close to finalizing the terms of the plea and for scheduling reasons request

       that this case be set for Change of Plea the week of June 26, 2023.

4.     The parties agree that due to outstanding discovery and ongoing plea negotiations, the

       ends of justice would be served by the exclusion of time under The Speedy Trial Act

       from today until the next filing is due before this Court. Mr. Chang waives his rights

       under The Speedy Trial Act and agrees to the exclusion of time for the period from

       today’s status report through the next date set by the Court.
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        WHEREFORE, the parties request that this case be set for Change of Plea the week of

June 26, 2023 or alternatively, July 3rd, 4th or 5th, 2023.



Dated: May 24, 2023.                                    Respectfully submitted,

                                                        By: /s/ Joseph S. Rosenbaum
                                                        Joseph S. Rosenbaum, Esq.
                                                        Florida Bar No. 240206

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